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 Statement from New York State Health
 Commissioner Dr. Howard Zucker on New
 York State’s Public Health Response to Measles
 ALBANY, N.Y. (October 3, 2019) - Today the New York State Department of Health is announcing
 that more than 42 days - the equivalent of two incubation periods - have passed in Sullivan and
 Orange counties without any new cases of measles. Reaching this milestone, as Rockland County did
 last week, means there are no longer any active cases in New York State associated with the initial
 measles outbreak from October 2018.

 The threat, however, for vaccine-preventable diseases remains and the Department is not letting down
 its guard. The Department is currently working with our partners in Rockland County in investigating
 a case subject who contracted measles internationally and traveled to Rockland County. Additionally,
 the Department has active public health responses underway in Nassau (two cases), Monroe (one
 case) and Putnam (one case) counties related to measles exposures from international travel but not
 affiliated with the 2018 outbreak.

 Since October 1, 2018, a total of 406 people were infected with measles, and have since recovered, in
 Rockland, Orange, Sullivan and Westchester counties as a result of initial exposures from
 international travel. Over that same timeframe, together with our partners, we have administered
 nearly 85,000 MMR vaccinations in those counties - a 75% increase in the amount of MMR vaccines
 administered from the previous year. To further help prevent transmission of vaccine-preventable
 diseases, in June, New York State removed non-medical exemptions from school vaccination
 requirements for children. In August, the Department issued emergency regulations further
 strengthening the process by which physicians can grant medical exemptions to school vaccination
 requirements in order to prevent them from being used for non-medical purposes.

 Measles is still common in many parts of the world, and unvaccinated people who travel
 internationally can be at risk. The MMR vaccination is the safest and most effective way to prevent
 measles. We will remain vigilant in protecting all New Yorkers from measles and other dangerous
 vaccine-preventable diseases.




https://www.health.ny.gov/press/releases/2019/2019-10-03_response_to_measles.htm              2/14/2020
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